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 8
 9                      IN THE UNITED STATES DISTRICT COURT
10   FOR THE CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
11
12 BEAZLEY UNDERWRITING, LTD.,                   CASE NO. 8:21-cv-642
13         Plaintiff,                            COMPLAINT FOR DECLARATORY
14                                               JUDGMENT
           v.
15
     FITNESS INTERNATIONAL, LLC,
16
           Defendants.
17
18
19         COMES NOW, Plaintiff BEAZLEY UNDERWRITING, LTD. (“Beazley”), and
20   files this Complaint for Declaratory Judgment against FITNESS INTERNATIONAL,
21   LLC (“Fitness International”), showing the Court as follows:
22                            I. NATURE OF THE ACTION
23         1.     This insurance coverage declaratory action arises out of Fitness
24   International’s claim for business interruption coverage related to the COVID-19
25   pandemic.
26         2.     Beazley subscribed to Policy No. W2C215200101, which provides
27   Fitness International certain commercial property coverage, subject to the policy’s
28

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 1   terms, conditions, limitations, and exclusions, from August 4, 2020, to August 4, 2021
 2   (the “Policy”). A copy of the Policy is attached as Exhibit A.
 3         3.      Beazley seeks a judicial determination pursuant to Federal Rule of Civil
 4   Procedure 57 and 28 U.S.C. § 2201 concerning whether Fitness International is entitled
 5   to business income coverage and/or coverage for property damage for its claimed
 6   COVID-19 losses and/or the extent to which payment may be owed.
 7                                    II. THE PARTIES
 8         4.      Plaintiff Beazley is a United Kingdom corporation and is a citizen and
 9   resident of the United Kingdom. Beazley was incorporated and formed under the laws
10   of England and Wales, with its principal place of business at 22 Bishops Gate, London,
11   United Kingdom EC2N 4BQ.
12         5.      Defendant Fitness International is a California company with its principal
13   place of business in Irvine, California. It can be served through its registered agent:
14   National Registered Agents, Inc., 818 West Seventh Street, Suite 930, Los Angeles,
15   California 90017.
16         6.      Upon information and belief, the members of Fitness International are
17   citizens of the States of California, Delaware, Idaho, Massachusetts, New Jersey,
18   Virginia, Illinois, and South Dakota, and at a minimum, none of the members of
19   Fitness International are citizens of the United Kingdom and Beazley is not a citizen of
20   these states. For the purposes of citizenship, Fitness International is a citizen of
21   California.
22                           III. JURISDICTION AND VENUE
23         7.      The Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1332
24   and 2201 because complete diversity exists between the parties, the amount in
25   controversy exceeds the sum of $75,000 exclusive of interest and costs, and Beazley
26   seeks declaratory relief pursuant to 28 U.S.C. § 2201, et seq., the Federal Declaratory
27   Judgment statute.
28   ///

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 1          8.       Beazley subscribes to Policy No. W2C215200101 and has more than
 2   $75,000 at issue in this litigation, and the subscriber to a Lloyd’s insurance policy is a
 3   proper party.
 4          9.       An actual case and controversy of a justiciable exists among the parties
 5   regarding the duties, rights, and obligations, if any, under the subject insurance policy.
 6          10.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(a) because
 7   over 125 of the properties at issue are located in California, with over half of those
 8   properties in this district, and Fitness International resides in this district.
 9                       IV. INTRODUCTION AND BACKGROUND
10          11.      Fitness International is the Named Insured under a commercial property
11   policy subscribed to by Beazley, Policy No. W2C215200101 (the “Policy”). The
12   Policy is an individual policy which forms part of a large commercial property
13   insurance program for the 2020-2021 policy year, providing property damage and
14   business income coverage to over 700 fitness centers owned and operated by Fitness
15   International (the “Properties”).
16          12.      The overall policy limit for the 2020-2021 policy is $500,000,000 with
17   various applicable sub-limits. Beazley subscribes to 10% of the $100,000,000 primary
18   loss layer. Pursuant to the Policy, Beazley’s obligations are several and not joint.
19          13.      This declaratory judgment action arises from Fitness International’s
20   insurance claim for business income losses resulting from COVID-19.
21          14.      The Policy was negotiated through and delivered to Fitness International’s
22   broker located in Los Angeles, California.
23          15.      On September 14, 2020, Fitness International filed a lawsuit against
24   insurers who subscribed to Fitness International’s 2019-2020 policy in the Superior
25   Court of California, Orange County, in the action styled Fitness International, LLC v.
26   Zurich American Insurance Company, et. al., Case No. 30-2020-01160031-CU-IC-
27   CJC (the “California State Lawsuit”). Beazley was not named as a defendant in this
28   suit as it did not subscribe to Fitness International’s policy for the 2019-2020 policy

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 1   year. At that time, Fitness International had not even notified Beazley of a potential
 2   claim.
 3            16.   The California State Lawsuit was removed to this Court on October 23,
 4   2020, in the action styled Fitness International, LLC v. Zurich American Insurance
 5   Company, et. al., Case No. 8:20-cv-02040-JVS-JDE.
 6            17.   On January 6, 2021, Fitness International voluntarily dismissed the
 7   California State Lawsuit.
 8            18.   That same day, Fitness International filed a complaint in the Superior
 9   Court of the State of Washington, King County, styled Fitness International, LLC v.
10   Zurich American Insurance Company, et. al., Case. No. 21-2-00261-3-SEA against the
11   insurers who subscribed to Fitness International’s 2019-2020 policy (the “Washington
12   State Lawsuit”). Again, Beazley was not named as a defendant in the Washington
13   State Lawsuit.
14            19.   On or about January 11, 2021, Fitness International first made a claim
15   with Beazley regarding business income losses due to COVID-19 under the Policy.
16            20.   Beazley timely acknowledged Fitness International’s claim on February 2,
17   2021.
18            21.   Beazley   requested   that   Fitness   International   provide   additional
19   information concerning the facts and circumstances surrounding the claim in order to
20   properly investigate the claim. These requests have not been responded to.
21            22.   On or about March 18, 2021, Fitness International sent an Insurance Fair
22   Conduct notice (the “IFCA Notice”) to Beazley and other insurers pursuant to
23   Washington State statute. The IFCA Notice is directed at insurers under both the 2019-
24   2020 and 2020-2021 policies.
25            23.   The IFCA Notice states that Fitness International intends to file an action
26   against Beazley for bad faith arising out of Beazley’s denial of coverage, despite the
27   lack of denial and Beazley’s ongoing efforts to obtain information related to the claim.
28   ///

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 1         24.    Beazley has filed this declaratory judgment action for a determination
 2   concerning whether Fitness International is entitled to business income coverage
 3   and/or coverage for property damage for its claimed COVID-19 losses and/or the
 4   extent to which payment may be owed.
 5                       V. SUMMARY OF COVERAGE ISSUES
 6         25.    Beazley seeks a declaration as to the following coverage issues:
 7         a.     Whether the claimed business income losses for COVID-19 constitute
 8   covered losses under the Policy;
 9         b.     Whether the Policy requires direct physical loss of or damage to property
10   for business income losses, and whether Fitness International has sustained direct
11   physical loss of or damage to property from COVID-19 at any of its Properties;
12         c.     Whether the Policy excludes coverage for the claimed business income
13   losses, including claims for losses arising from (a) communicable disease, (b)
14   contamination, (c) an ordinance or law regulating the use of property, (d) loss of use,
15   (e) loss of market, (f) a microorganism of any type, nature, or description, including
16   but not limited to any substance whose presence poses an actual or potential threat to
17   human health, and/or (g) the presence, existence, or release of anything which
18   endangers or threatens to endanger the health, safety or welfare of persons;
19         d.     Whether the loss was fortuitous;
20         e.     Whether the claim is otherwise covered and not excluded or limited from
21   coverage under the Policy; and
22         f.     Whether any payment is owed by Beazley to Fitness International under
23   the Policy, and if a payment is owed, how much.
24                            VI. THE INSURANCE POLICY
25         26.    The terms, conditions, definitions, exclusions, and other provisions of the
26   Policy are incorporated herein by reference.
27         27.    All conditions precedent to Beazley filing this lawsuit have occurred, but
28   Fitness International has not complied with its obligations precedent to suit.

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 1         28.   The Policy contains a choice-of-law provision which states that it “shall
 2   be governed by the laws of California. . .” Form (LMA3102A).
 3         29.   The Policy’s insuring agreement provides as follows:
 4               1.01 INSURING AGREEMENT
 5
                       This Policy Insures against direct physical loss of or
 6                     damage caused by a Covered Cause of Loss to Covered
                       Property, at an insured Location described in Section II-
 7
                       2.01, all subject to the terms, conditions and exclusions
 8                     stated in this Policy.
 9
                                             ***
10
11         30.   Covered Cause of Loss is defined as “[a]ll risks of direct physical loss of
12   or damage from any cause unless excluded.”
13         31.   The Policy provides certain “Time Element” coverage as follows:
14               SECTION IV-TIME ELEMENT
15               4.01 Loss Insured
16               4.01.01     The Company will pay for the actual Time Element
17                           loss the Insured sustains, as provided in the Time
                             Element Coverages, during the Period of Liability.
18                           The Time Element loss must result from the
19                           necessary Suspension of the Insured’s business
                             activities at an Insured Location. The Suspension
20
                             must be due to direct physical loss of or damage to
21                           Property (of the type insurable under this Policy
                             other than Finished Stock) caused by a Covered
22
                             Cause of Loss at the Location, or as provided in
23                           Off Premises Storage for Property Under
                             Construction Coverages.
24
25                           The Company will also pay for the actual Time
                             Element loss sustained by the Insured, during the
26                           Period of Liability at other Insured Locations. The
27                           Time Element loss must result from the necessary
                             Suspension of the Insured's business activities at
28                           the other Insured Locations. Such other Location
                               6
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 1                          must depend on the continuation of business
                            activities at the Location that sustained direct
 2
                            physical loss or damage caused by a Covered
 3                          Cause of Loss.
 4
 5       32.   The Policy’s “Extra Expense” provision provides as follows:
 6
               4.02.03      EXTRA EXPENSE
 7
                            The Company will pay for the reasonable and
 8
                            necessary Extra Expenses incurred by the Insured,
 9                          during the Period of Liability, to resume and
                            continue as nearly as practicable the Insured’s
10
                            normal business activities that otherwise would be
11                          necessarily suspended, due to direct physical loss of
                            or damage caused by a Covered Cause of Loss to
12
                            Property of the type insurable under this policy at a
13                          Location.
14                          The Company will reduce the amount payable as
15                          Extra Expense by the fair market value remaining at
                            the end of the Period of Liability for property
16                          obtained in connection with the above.
17                          Extra Expenses mean that amount spent to continue
                            the Insured's business activities over and above the
18                          expenses the Insured would have normally incurred
19                          had there been no direct physical loss of or damage
                            caused by a Covered Cause of Loss to Property of
20                          the type insurable under this policy at a Location.
21                          Extra Expense does not include any Gross Earnings
                            loss or Gross Profit loss, the cost of permanent
22                          repair or replacement of property that has suffered
23                          direct physical loss or damage, or expenses
                            otherwise payable elsewhere in the Policy.
24
25       33.   The Period of Liability is defined as follows:
26             4.03. PERIOD OF LIABILITY
27             4.03.01.     The Period of Liability applying to all Time
28                          Element Coverages, except Gross Profit and

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 1                           Leasehold Interest, and as shown below or if
                             otherwise provided under any Special Coverage,
 2
                             and subject to any Time Limit provided in 2.03.09.,
 3                           is as follows:
 4               4.03.01.01. For building and equipment: The period starting
 5                           from the time of physical loss or damage of the type
                             insured against and ending when with due diligence
 6                           and dispatch the building and equipment could be
 7                           repaired or replaced, and made ready for operations
                             under the same or equivalent physical and operating
 8                           conditions that existed prior to the damage. The
 9                           expiration of this Policy will not limit the Period of
                             Liability.
10
11         34.   The Policy provides certain “Civil or Military Authority” coverage as
12   follows:
13               5.02.03. CIVIL OR MILITARY AUTHORITY
14                     The Company will pay for the actual Time Element loss
15                     sustained by the Insured, as provided by this Policy,
                       resulting from the necessary Suspension of the Insured's
16                     business activities at an Insured Location if the
17                     Suspension is caused by order of civil or military
                       authority that prohibits access to the Location. That order
18                     must result from a civil authority's response to direct
19                     physical loss of or damage caused by a Covered Cause of
                       Loss to property not owned, occupied, leased or rented by
20                     the Insured or insured under this Policy and located within
21                     the distance of the Insured's Location as stated in the
                       Declarations. The Company will pay for the actual Time
22                     Element loss sustained, subject to the deductible
23                     provisions that would have applied had the physical loss or
                       damage occurred at the Insured Location, during the time
24                     the order remains in effect, but not to exceed the number
25                     of consecutive days following such order as stated in the
                       Declarations up to the limit applying to this Coverage.
26
27         35.   The Policy provides certain “Contingent Time Element” coverage as
28   follows:

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 1               5.02.05. CONTINGENT TIME ELEMENT
 2                     This Policy covers the actual Time Element loss as
 3                     provided by the Policy, sustained by the Insured during the
                       Period of Liability directly resulting from the necessary
 4                     Suspension of the Insured's business activities at an
 5                     Insured Location if the Suspension results from direct
                       physical loss of or damage caused by a Covered Cause of
 6                     Loss to Property (of the type insurable under this Policy)
 7                     at Direct Dependent Time Element Locations, Indirect
                       Dependent Time Element Locations, and Attraction
 8                     Properties located worldwide, except for in the following
 9                     ...
10                                            ***
11
12         36.   The Policy provides certain “Ingress/Egress” coverage as follows:
13               5.02.15. INGRESS/EGRESS
14                     The Company will pay for the actual Time Element loss
15                     sustained by the Insured, as provided by this Policy,
                       resulting from the necessary Suspension of the Insured's
16                     business activities at an Insured Location if ingress or
17                     egress to that Insured Location by the Insured's suppliers,
                       customers or employees is prevented by physical
18                     obstruction due to direct physical loss of or damage caused
19                     by a Covered Cause of Loss to property not owned,
                       occupied, leased or rented by the Insured or insured under
20                     this Policy and located within the distance of the Insured
21                     Location as stated in the Declarations. The Company will
                       pay for the actual Time Element loss sustained, subject to
22                     the deductible provisions that would have applied had the
23                     physical loss or damage occurred at the Insured Location,
                       during the time ingress or egress remains prevented by
24                     physical obstruction but not to exceed the number of
25                     consecutive days as stated in the Declarations following
                       such obstruction up to the limit applying to this Coverage.
26
27         37.   The Policy’s manuscript form contains the following exclusions:
28   ///

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 1               3.03 Exclusions
 2                     The following exclusions apply unless specifically stated
 3                     elsewhere in this Policy.

 4                                              ***
 5               3.03.01.01. Contamination,       and    any    cost    due    to
 6                           Contamination including the inability to use or
                             occupy property or any cost of making property safe
 7                           or suitable for use or occupancy, except as provided
 8                           by the Radioactive Contamination Coverage of this
                             Policy.
 9
                                            ***
10
                 3.03.01.03. Loss or damage arising from the enforcement of any
11                           law, ordinance, regulation or rule regulating or
                             restricting the construction, installation, repair,
12
                             replacement,      improvement,        modification,
13                           demolition, occupancy, operation or other use, or
                             removal including debris removal of any property.
14
15               3.03.2.     This Policy excludes:
16               3.03.02.01. Loss or damage arising from delay, loss of market,
17                           or loss of use.
                                             ***
18
19         38.   Contamination is defined as:
20               7.09. Contamination(Contaminated) - Any condition of
                       property due to the actual presence of any foreign
21                     substance, impurity, pollutant, hazardous material, poison,
22                     toxin, pathogen or pathogenic organism, bacteria, virus,
                       disease causing or illness causing agent, Fungus, mold or
23                     mildew.
24
25         39.   The Communicable Disease endorsement (LMA5393) provides as
26   follows:
27   ///
28   ///

                               10
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 1                                ***
                       COMMUNICABLE DISEASE ENDORSEMENT
 2
 3                                (For use on property policies)

 4              1.    Except with respect to Extension of Coverage 5.02.28
                      Tenants Prohibited Access, and subject to all applicable
 5
                      terms, conditions and exclusions, this Policy covers losses
 6                    attributable to direct physical loss or physical damage
                      occurring during the period of insurance. Consequently
 7
                      and notwithstanding any other provision of this policy to
 8                    the contrary, this policy does not insure any loss, damage,
                      claim, cost, expense or other sum, directly or indirectly
 9
                      arising out of, attributable to, or occurring concurrently or
10                    in any sequence with a Communicable Disease or the fear
                      or threat (whether actual or perceived) of a Communicable
11
                      Disease.
12
                2.    For the purposes of this endorsement, loss, damage, claim,
13                    cost, expense or other sum, includes, but is not limited to,
14                    any cost to clean-up, detoxify, remove, monitor or test:
15                    2.1.   for a Communicable Disease, or
16                    2.2.   any property insured hereunder that is affected by
17                           such Communicable Disease.
18              3.    As used herein, a Communicable Disease means any
19                    disease which can be transmitted by means of any
                      substance or agent from any organism to another organism
20                    where:
21                    3.1.   the substance or agent includes, but is not limited to,
22                           a virus, bacterium, parasite or other organism or any
                             variation thereof, whether deemed living or not, and
23
24                    3.2.   the method of transmission, whether direct or
                             indirect, includes but is not limited to, airborne
25                           transmission,      bodily    fluid     transmission,
26                           transmission from or to any surface or object, solid,
                             liquid or gas or between organisms, and
27
                      3.3.   the disease, substance or agent can cause or threaten
28                           damage to human health or human welfare or can
                               11
     COMPLAINT FOR DECLARATORY JUDGMENT                            CASE NO. 8:21-cv-642
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 1                             cause or threaten damage to, deterioration of, loss of
                               value of, marketability of or loss of use of property
 2
                               insured hereunder.
 3
                 4.      This endorsement applies to all coverage extensions,
 4                       additional coverages, exceptions to any exclusion and
 5                       other coverage grant(s).

 6         40.   The Microorganism Exclusion (Absolute) endorsement (LMA5018)
 7   provides as follows:
 8                                            ***
 9
                 Notwithstanding any provision to the contrary within this
10               Policy or any endorsement thereto, it is understood and
                 agreed the following applies to this Policy:
11
12                    MICROORGANISM EXCLUSION (ABSOLUTE)
13
                 This Policy does not insure any loss, damage, claim, cost,
14               expense or other sum directly or indirectly arising out of or
                 relating to:
15
16                    mold, mildew, fungus, spares or other microorganism of any
17                    type, nature, or description, including but not limited to any
                      substance whose presence poses an actual or potential threat
18                    to human health.
19
                 This Exclusion applies regardless whether there is (i) any
20               physical loss or damage to insured property; (ii) any insured peril
21               or cause, whether or not contributing concurrently or in any
                 sequence; (iii) any loss of use, occupancy, or functionality; or
22               (iv) any action required, including but not limited to repair,
23               replacement, removal, cleanup, abatement, disposal, relocation,
                 or steps taken to address medical or legal concerns.
24
25               This Exclusion replaces and supersedes any provision in the
                 Policy that provides insurance, in whole or in part, for these
26               matters.
27
                                              ***
28

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 1         41.   The Seepage and/or Pollution and/or Contamination Exclusion in the
 2   Policy’s Additional Limitations and Conditions endorsement (NMA2415) provides as
 3   follows:
 4                                           ***
 5
                 SEEPAGE   AND/OR     POLLUTION                          AND/OR
 6               CONTAMINATION EXCLUSION
 7
                 Notwithstanding any provision to the contrary within the Policy
 8               of which this Endorsement forms part (or within any other
                 Endorsement which forms part of this Policy), this Policy does
 9
                 not insure:
10
                    1. any loss, damage, cost or expense; or
11
                    2. any increase in insured loss, damage, cost or expense; or
12                  3. any loss, damage, cost, expense, fine, penalty or other sum
                       which is incurred, sustained or imposed by, or by the
13
                       threat of, any judgment, order, direction, instruction or
14                     request of, or any agreement with, any court, government
                       agency, any public, civil or military authority or any other
15
                       person (and whether or not as a result of public or private
16                     litigation);
17               which arises from any kind of seepage or any kind of pollution
18               and/or contamination, or threat thereof, whether or not caused by
                 or resulting from a peril insured, or from steps or measures taken
19               in connection with the avoidance, prevention, abatement,
20               mitigation, remediation, clean-up or removal of such seepage or
                 pollution and/or contamination or threat thereof.
21
22               The term “any kind of seepage or any kind of pollution and/or
                 contamination” as used in this Endorsement includes (but is not
23               limited to):
24
                    1. seepage of, or pollution and/or contamination by,
25                     anything, including but not limited to … any substance
26                     designated or defined as toxic, dangerous, hazardous or
                       deleterious to persons or the environment under any other
27                     Federal, State, Provincial, Municipal or other law,
28                     ordinance or regulation; and

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 1                   2. the presence, existence, or release of anything which
                        endangers or threatens to endanger the health, safety or
 2
                        welfare of persons or the environment.
 3
                                             ***
 4
 5         42.    Beazley contends that one or more of the terms, conditions, and
 6   exclusions cited above applies to define, exclude, or limit coverage and thus applies to
 7   limit or preclude damages payable under the Policy in this matter.
 8         43.    Specifically, Beazley contends that Fitness International did not sustain
 9   direct physical loss of or damage to Covered Property caused by or resulting from a
10   Covered Cause of Loss as required by the Policy. The limited Civil or Military
11   Authority coverage must also arise from direct physical loss or damage to property.
12         44.    Regardless, the Policy excludes any losses arising from communicable
13   disease, contamination, loss of market, loss of use, microorganisms, or the threat of
14   anything which endangers or threatens to endanger the health, safety, or welfare of
15   persons, and Fitness International’s losses can be linked to one or more of these
16   exclusions from coverage.
17                     VII. CLAIM FOR DECLARATORY RELIEF
18         45.    Beazley hereby incorporates by reference the preceding paragraphs.
19         46.    Pursuant to 28 U.S.C. § 2201, Beazley seeks a declaration including, but
20   not limited to, the following:
21         a.     Whether the claimed business income losses for COVID-19 constitute
22   covered losses under the Policy;
23         b.     Whether the Policy requires direct physical loss of or damage to property
24   for business income losses, including coverage under the Civil and Military Authority
25   coverage;
26         c.     Whether Fitness has sustained direct physical loss of or damage to
27   property from COVID-19 at any of its Properties;
28

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 1         d.     Whether the Policy excludes coverage for the claimed business income
 2   losses;
 3         e.     Whether Fitness International has claimed an excluded loss arising from
 4   communicable disease;
 5         f.     Whether Fitness International has claimed an excluded loss arising from
 6   contamination;
 7         g.     Whether Fitness International has claimed an excluded loss arising from
 8   an ordinance or law regulating the use of its properties;
 9         h.     Whether Fitness International has claimed an excluded loss for loss of use
10   and/or loss of market;
11         i.     Whether Fitness International has claimed an excluded loss for arising out
12   of or relating to a microorganism of any type, nature, or description, including but not
13   limited to any substance whose presence poses an actual or potential threat to human
14   health;
15         j.     Whether Fitness International has claimed an excluded loss arising from
16   the presence, existence, or release of anything which endangers or threatens to
17   endanger the health, safety or welfare of persons;
18         k.     Whether the loss was fortuitous;
19         l.     Whether the claim is otherwise covered and not excluded or limited from
20   coverage under the Policy;
21         m.     Whether any payment is owed by Beazley to Fitness International under
22   the Policy, and if a payment is owed, how much, pursuant to the Policy’s limits and
23   applicable sublimits, and Beazley’s several share; and
24         n.     Beazley reserves the right to assert additional Policy provisions as the
25   case develops, as there may be other provisions that apply of which Beazley has no
26   present knowledge. Therefore, Beazley requests that the Court make such other and
27   further declarations as may be appropriate.
28   ///

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 1                                       VIII. PRAYER
 2           Accordingly, Beazley prays that Fitness International be summoned to appear
 3   and answer herein, and that upon trial hereof, the Court declare whether Beazley must
 4   pay Fitness International for all covered damages owed for this loss; whether Beazley
 5   has any further duties in this matter; and that Beazley be awarded such other and
 6   further relief, at law or in equity, to which it may be justly entitled.
 7
 8   Dated: April 6, 2021                    SELVIN WRAITH HALMAN LLP
 9
10
                                             By:      /s/ James L. Wraith
11                                                 James L. Wraith
                                                   Sara M. Parker
12                                                 Attorneys for Plaintiff
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     COMPLAINT FOR DECLARATORY JUDGMENT                                 CASE NO. 8:21-cv-642
